                             UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF TENNESSEE
                                   at CHATTANOOGA

 UNITED STATES OF AMERICA
                                                )           1:00-CR-70
 v.                                             )           Collier
                                                )
 ANTONIO EDWARDS                                )
                                                )

                                           ORDER


        For the reasons set forth in the accompanying memorandum, the Court hereby DENIES

 Defendant Antonio Edwards’ pro se motion pursuant to Fed. R. Crim. P. 41(g) for return of certain

 property (Court File No. 186).



        SO ORDERED.

        ENTER:


                                             /s/
                                             CURTIS L. COLLIER
                                             CHIEF UNITED STATES DISTRICT JUDGE




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